   Case 2:05-cv-04182-SRD-JCW Document 19323 Filed 10/16/09 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA

In Re:     KATRINA CANAL BREACHES                      §      CIVIL ACTION
           CONSOLIDATED LITIGATION                     §      NO. 05-4182 “K” (2)
________________________________________               §      JUDGE DUVAL
                                                       §      MAG. WILKINSON
           PERTAINS TO: MRGO                           §
________________________________________               §




             UNITED STATES OF AMERICA’S MOTION TO DISMISS

         Pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure, and for

the reasons expressed in the accompanying memorandum of law, the United States

of America moves to dismiss all claims pertaining to the East Bank Industrial Area

contained in the Amended MR-GO Master Consolidated Class Action Complaint

(Doc. 11471), as well as all claims asserted by Plaintiffs Kenneth P. Armstrong,

Sr., and Jeannine B. Armstrong.




                                   Respectfully Submitted,

                                   TONY WEST
                                   Assistant Attorney General


                                             1
Case 2:05-cv-04182-SRD-JCW Document 19323 Filed 10/16/09 Page 2 of 3




                         PHYLLIS J. PYLES
                         Director, Torts Branch

                         JAMES G. TOUHEY, JR.
                         Assistant Director, Torts Branch

                         ROBIN D. SMITH
                         Senior Trial Counsel, Torts Branch

                          s/ Jeffrey Paul Ehrlich
                         Jeffrey Paul Ehrlich
                         Trial Attorney, Torts Branch, Civil Division
                         U.S. Department of Justice
                         Benjamin Franklin Station, P.O. Box 888
                         Washington, D.C. 20044
                         (202) 616-4400 / (202) 616-5200 (Fax)
                         Attorney for the United States




                                  2
   Case 2:05-cv-04182-SRD-JCW Document 19323 Filed 10/16/09 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I, Jeffrey Paul Ehrlich, hereby certify that on October 16, 2009, I served a

true copy of the foregoing upon all Parties by ECF.




                                  /s/ Jeffrey Paul Ehrlich
                                 JEFFREY PAUL EHRLICH




                                         3
